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UNITED STATES DISTRICT COURT
W ESTERN DISTRICT OF NEW YORK




UNITED STATES OF AMERICA
                                                        DECISION AND ORDER
                                                              99-CR-2A
            v.


SHAW N JONES,

                                Defendant.


                                INTRODUCTION

      On May 28, 2010, defendant Shawn Jones filed a motion to seal the entire

docket from her criminal case. Because the governing case law addresses Ms.

Jones’s request directly, responding and reply papers are unnecessary. For the

reasons below, the Court will deny the motion.

                                 BACKGROUND

      On November 5, 2001, Ms. Jones pled guilty to one count of conspiracy to

distribute a controlled substance in violation of 21 U.S.C. § 846 and one count of

conspiracy to defraud the United States in violation of 18 U.S.C. § 371.1 On May

2, 2001, she was sentenced to three years of probation plus restitution and a

special assessment. Ms. Jones now brings her motion several years after

completing her sentencing obligations. In her brief motion papers, Ms. Jones


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      The Court deferred formal acceptance of the plea until the time of
sentencing. (See Dkt. No. 629.)
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states that she wants her criminal case sealed because her record cost her an

unspecified job that she held. Ms. Jones states further that she now is a licensed

minister and a youth mentor. Ms. Jones added that “I have learn[ed] my lesson

by being on the wrong side of the law. I apolog[ize] for disrespecting the laws

and courts as well as myself by associating myself with the wrong crowd of

people.” Ms. Jones’s motion papers imply that she wants her criminal case

sealed out of concern that potential future employers may find her conviction

during background checks and refuse to hire her on that basis.

                                     DISCUSSION

      “[C]ourts have held that the right of confidentiality does not prohibit the

disclosure of an individual’s criminal history, including the individual’s arrest

records. See Paul v. Davis, 424 U.S. [693, 713 (1976)] (finding no constitutional

right of confidentiality affected by the publication of the fact that an individual was

arrested of shoplifting); J.C. McRary v. Jetter, 665 F. Supp. 182 (E.D.N.Y. 1987)

(finding that plaintiff did not have a constitutionally protected interest in the

confidentiality of his youthful offender file); Fraternal Order of Police v. City of

Philadelphia, 812 F.2d 105, 117 (3d Cir. 1987) (holding that ‘arrest records are

not entitled to privacy protection’ because they are, by definition, public); Cline v.

Rogers, 87 F.3d 176, 179 (6th Cir. 1996) (holding that ‘there is no constitutional

right to privacy in one's criminal record’ because ‘arrest and conviction

information are matters of public record’).” Johnson ex rel. Johnson v. Columbia


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Univ., No. 99 Civ. 3415, 2003 W L 22743675, at *11 (S.D.N.Y. 2003). Here, Ms.

Jones had a criminal case in this District whose docket has been publicly

available for several years. The criminal proceedings in themselves are public

information. See Local Criminal Rule 55.2(a) (“Except when otherwise required

by statute or rule, there is a presumption that Court documents are accessible to

the public and that a substantial showing is necessary to restrict access.”). Other

than the presentence investigation report, which was filed under seal, the docket

does not appear to contain information that pertains either to “the individual

interest in avoiding disclosure of personal matters” or to “the interest in

independence in making certain kinds of important decisions.” Whalen v. Roe,

429 U.S. 589, 599–600 (1977). Additionally, Ms. Jones has articulated no reason

for a sealing of her entire case other than a general, albeit sincere, desire to

regain employment and to improve her life. Under these circumstances, this

Court cannot find a basis for granting Ms. Jones’s request in the face of clear

case law to the contrary.

      The long-held rules about the public nature of criminal records do not

mean, however, that the Court cannot express sympathy for Ms. Jones’s

situation. Ms. Jones’s motion papers are brief, but taken at face value, they

express her wish to distance herself from bad decisions that she made in her life,

for which she has paid a price. An essentially identical situation presented itself

in U.S. v. James, No. 97 CR 715, 2003 W L 21056989 (E.D.N.Y. 2003), where the


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request was for expungement of a criminal record. A quotation from that case is

appropriate here:

      For the reasons set forth above, plaintiff’s motion for expungement
      must be denied. Unfortunately for plaintiff, if there is some force that
      will permit her to move on and put the lingering effects of her
      conviction behind her, it is not the law, but rather the willingness of
      an employer to display enough understanding and wisdom to
      recognize that defendant has paid her debt to society. W hile the law
      does not go so far as to erase the records of a youthful lapse in
      judgment, neither does it envision that she will be forever branded as
      a pariah and precluded from fully contributing to the fabric of society
      . . . . To merely pay lip service, however, to the tenet of “paying one’s
      debt to society” and to continue to regard that debt as never to be
      absolved is socially self-defeating and morally wanting. Despite
      having found no basis upon which to grant plaintiff’s motion for
      expungement, this Court is nevertheless prompted to express the
      same hope it did in [In re Farkas, 783 F. Supp. 102 (E.D.N.Y. 1992)],
      that prospective employers will not look askance upon [her].

James, 2003 W L 21056989, at *2.

                                  CONCLUSION

      For all of the foregoing reasons, Ms. Jones’s motion is denied.

      SO ORDERED.




                                       s/ Richard J. Arcara
                                       HONORABLE RICHARD J. ARCARA
                                       UNITED STATES DISTRICT JUDGE

DATED:J une 11, 2010




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